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                                                     #1486




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS


           In Re: Petitions for Retroactive
           AppUcation of Amendment 750 of
           the United States Sentencing Guidelines to
           Sentences Previously Imposed
           for Certain Crack Cocaine Offenses

                                                                        No.l37



                                           ADMINISTRATIVE ORDER

           HERNDON. CHIEF JUDGE:

                   Once again. the United States Sentencing Commission ("Commission") has
           reduced the disparity between sentences recommended by It for powder cocaine and
           crack cocaine In the advisory sentencing guidelines, The Commission decided to
           make Its advisory guidelines for these offenses. under certain circumstances upon
           appropriate findings of the presiding judge, retroactive . These provisions are
           contained In Amendment 750 (parts A and Conly) of the Sentencing Guidelines, The
           effective date of this retroactive application Is not until November 1. 2011.
           Consequently, the Court cannot act on any petitions requesting a reduction In
           sentence prior to that date, Furthermore. the Court acknowledges the contingency
           that Congress may not agree wtth the Sentencing Commlsslon's recommendation
           regarding retroactivity and could act to prevent the retroactivity from taking effect.
           Even so, the Court sets forth the follOwing procedures as to these types of
           petitions/motions.

                  This Court. en bane. has determined that any petitions filed prior to that date
           wtll be automatically stayed. without further order of Court. until November I. 2011.
           However. regardless of that stay. the Federal Public Defender's Office ("FPD") is
           designated to represent each defendant (petitioner) who meets the indigence
           standards and who files such a petition or motion, by whatever nomenclature the
           litigant places on the document. The FPD shall decide specifically which attorney
           wtthln the office shall individually be assigned which petitionS/motions. Should the
           FPD determine that there Is a conflict for that particular defendant. It shall enlist the
           FPD of the Eastern District of Missouri for representation of that defendant through
           the Interoffice agreement it has worked out with that office for that purpose.

                 If the FPD plans to file an amended petition/motion for reduction. it may do so




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 on November I, 2011, but it shall provide courtesy copies to the United States
 Attorney's office on October 27, 2011. The United States Attorney's Office is not
 required to file a response to any such fil1ng (petition or motion) so filed by the
 defendant seeking a reduction until fourteen days after the FPD files the amended
 motion. Prior to that date, the Court in concert with the United States Attorney's
 Office and the FPD shall work together to determine the procedural and logistical
 issues relative to the handling of such cases.

        In cases in which the FPO has been appointed and the FPD determines that the
 defendant is not entitled to relief, the FPD shall file a motion to withdraw as counsel
 explaining why the defendant is not entitled to relief. In this event. the defendant and
 the government shall have fourteen days to file a response to the motion. Further,
 the FPO shall send a copy of the motion to the defendant and inform the defendant
 that he/she has fourteen days to respond to the motion.

       The Clerk's Office is directed to implement this Order by entering the FPD as
 attorney of record in each case relevant to the issues discussed in this Order, and
 by sending a copy of this Order to the defendant. petitioner, movant, litigant who
 seeks to have his!her sentence reduced pursuant to the amendment and who files his
 moving document prior to November 1,2011. Further, the Clerk's Office shall send
 copies of this Order to the FPO and to the United States Attorney's Office and shall
 post this Order on the District Court's website.



              IT IS SO ORDERED.

              Signed this 20th day of July, 2011.
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                                                Chief Judge
                                                United States District Court
